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     RAFAEL PINEDA-PARRA
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. F 10-416 LJO
12                             Plaintiff,                STIPULATED MOTION AND ORDER TO
                                                         REDUCE SENTENCE PURSUANT TO 18
13             v.                                        U.S.C. § 3582(c)(2)
14   RAFAEL PINEDA-PARRA,                                RETROACTIVE DRUGS-MINUS-TWO
                                                         REDUCTION CASE
15                             Defendant.
                                                         Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, RAFAEL PINEDA-PARRA, by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On August 27, 2012, this Court sentenced Mr. Pineda-Parra to a term of 168

25   months imprisonment;

26             3.         His total offense level was 35, his criminal history category was I, and the

27   resulting guideline range was 168 to 210 months;

28

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Pineda-Parra was subsequently lowered
2    by the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
3    2014, see 79 Fed. Reg. 44,973;
4              5.         Mr. Pineda-Parra’s total offense level has been reduced from 35 to 33, and his
5    amended guideline range is 135 to 168 months; and,
6              6.         Accordingly, the parties request the Court enter the order lodged herewith
7    reducing Mr. Pineda-Parra’s term of imprisonment to a total term of 135 months.
8    Respectfully submitted,
9    Dated: February 4, 2015                            Dated: February 4, 2015
10   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
11
12   /s/ Kathleen A. Servatius                          /s/ David M. Porter
     KATHLEEN A. SERVATIUS                              DAVID M. PORTER
13   Assistant U.S. Attorney                            Assistant Federal Defender
14   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           RAFAEL PINEDA-PARRA
15
16                                                     ORDER
17             This matter came before the Court on the stipulated motion of the defendant for reduction
18   of sentence pursuant to 18 U.S.C. § 3582(c)(2).
19             The parties agree, and the Court finds, that Mr. Pineda-Parra is entitled to the benefit
20   Amendment 782, which reduces the total offense level from 35 to 33, resulting in an amended
21   guideline range of 135 to 168 months.
22             IT IS HEREBY ORDERED that the term of imprisonment imposed in August 2012 is
23   reduced to a term of 168 months.
24             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
25   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
26   reduction in sentence, and shall serve certified copies of the amended judgment on the United
27   States Bureau of Prisons and the United States Probation Office.
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     Stipulation and Order Re: Sentence Reduction          2
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1              Unless otherwise ordered, Mr. Pineda-Parra shall report to the United States Probation
2    Office within seventy-two hours after his release.
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     IT IS SO ORDERED.
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5         Dated:         February 4, 2015                     /s/ Lawrence J. O’Neill
                                                           UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction      3
